           Case 5:21-cv-01132-JKP Document 78 Filed 10/05/22 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

RESEA PROJECT APS,

        Plaintiff,

v.                                                              Case No. SA-21-CV-1132-JKP

RESTORING INTEGRITY TO THE
OCEANS, INC., and KIERAN KELLY,

        Defendants.

                             ORDER REGARDING EMAIL
                        COMMUNICATIONS AND OTHER MATTERS

        Before the Court is a “Motion to Appeal” submitted via email by Rico Guerrero on behalf of the

pro se Defendant Kieran Kelly. Through such document, Mr. Kelly appears to seek to appeal a decision

dated October 4, 2022, but the Court has issued no decision of that date. The document also invokes Fed.

R. Civ. P. 73(c), which addresses appealing “a judgment entered at a magistrate judge’s direction,” but no

judgment has been entered in this case, let alone one entered at a magistrate judge’s direction. In addition

to these problematic issues within the submission, even more fundamental reasons exist to not take any

action on the submission as discussed below.

        First, in bringing the matter to the undersigned’s attention, court staff indicated that this is not the

first time that Mr. Guerrero and/or Mr. Kelly have attempted to file something via email to court staff.

Although the most recent email does not reflect the capacity of Mr. Guerrero, court staff state that prior

emails indicated that he was employed as Chief Financial Officer of the entity defendant. As court staff has

informed Mr. Kelly and/or Mr. Guerrero numerous times, it is neither appropriate nor permitted to submit

matters to the Court via email. It also improper to submit matters for ex parte consideration, i.e., without

involvement of or notice to the opposing party. Apparently, the court staff’s procedural answers to repeated

inquiries are insufficient for him and his apparent agent, Mr. Guerrero, to comply with court procedures.
              Case 5:21-cv-01132-JKP Document 78 Filed 10/05/22 Page 2 of 3



          Second, about a month ago, the Court addressed several motions then pending before it, including

a Motion to eFile (ECF No. 74), filed by Defendant Kelly pro se. With respect to that motion, the Court

stated:

          Through the motion to e-file, Defendant Kelly seeks permission to use the Court’s e-filing
          system. While the Court sees the potential benefit of that for all involved, it denies the
          motion without prejudice to refiling through the proper procedure. Defendant Kelly has not
          pursued the motion through the proper procedure. The first step to obtaining leave of Court
          to use the e-filing system is to file an Application for Permission to File Electronically – a
          form that is available through the District Clerk’s Office. Kelly’s motion cannot be reason-
          ably construed to be such an application because it lacks the information provided in a
          completed application. Once a party files such application, the Court considers whether the
          party should be permitted to utilize the system.

A review of the docket of this case reflects nothing to indicate that Mr. Kelly has complied with the proce-

dure for applying to utilize the Court’s efiling system. Moreover, even if Mr. Kelly were authorized to use

that system, such authorization would not permit filing anything through an email to court staff as he has

on several occasions sought to do.

          Because Mr. Kelly and Mr. Guerrero have continued to ignore relevant procedures and procedural

guidance provided by court staff, the Court hereby issues the following orders:

          1. The Court will take no action on “Motion to Appeal” submitted via email by Rico Guerrero

on behalf of the pro se Defendant Kieran Kelly. If Defendant Kelly wants to submit a matter to the Court

for review, he must file it through the Court’s normal filing procedures.

          2. As part of the normal filing procedures, Defendant Kelly must provide notice of court filings to

opposing counsel. A failure to provide such notice may result in the Court summarily denying a motion

filed with the Court.

          3. Because Mr. Guerrero is not a party to this litigation, he may not contact the Court for any reason

related to this case. To the extent that he purports to represent the entity defendant, such defendant may

proceed only through legal counsel as the Court has previously stated in this case. To the extent that he

seeks to represent Mr. Kelly or act on his behalf, only a legal representative can represent Mr. Kelly in court

proceedings and all communications to the Court must come through Mr. Kelly himself, as the party to this

litigation.

                                                        2
           Case 5:21-cv-01132-JKP Document 78 Filed 10/05/22 Page 3 of 3



        4. Given the abuse regarding communicating with court staff through email, the Court hereby no-

tifies Mr. Kelly that any email correspondence from him may go unanswered. And any emails with attach-

ments or from a non-party to this litigation may be completely ignored by staff. Therefore, if Mr. Kelly

desires court action, the proper avenue is through a filing with the Court.

        5. Although the Court granted permission for defense counsel to withdraw from this action, see

ECF No. 60, the Court notes that the docket still reflects attorneys to be notified for both defendants. The

Clerk of Court shall (a) note the termination of these attorneys on the docket; (b) update the docket

to reflect contact information for Defendant Kelly as reflected in his Motion to eFile (ECF No. 74);

and (c) email Defendant Kelly a copy of the current docket sheet, a copy of this Order, and copies of

documents 60, 71, and 76 to assure that Defendant Kelly has received such documents. For purposes

of this Order only, the Clerk of Court may use kkelly@oceansintegrity.com as an email for Defendant

Kelly. If Defendant Kelly wants to use a United States address for his contact information, he may do so

by filing a Notice of Change of Address with the address he wants to use.

        6. The Court admonishes Defendant Kelly that continued abuses of email correspondence or abuses

of the judicial process may result in the imposition of sanctions, including a monetary sanction payable to

the Court. Furthermore, the Court expects pro se litigants, like all litigants, to follow applicable rules and

procedures.

        IT IS SO ORDERED this 5th day of October 2022.




                                                  JASON PULLIAM
                                                  UNITED STATES DISTRICT JUDGE




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